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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    ERIN MASCARELLI,

          Plaintiff,
    v.
                                                               CASE NO.:
    THE CBE GROUP, INC.,

          Defendant.
                                                      /

                                                COMPLAINT

         1.      Unwanted “Robocalls” are the #1 consumer complaint in America today.

         2.      The people complaining about harassing robocalls is increasing at an alarming rate.

In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal

Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was

4,501,967.1

         3.      The CBE Group, Inc., robocalled the Plaintiff a mindboggling 150 times.

         4.      The CBE Group, Inc., has a corporate policy to robocall people thousands of times.

         5.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

years ago, robocall abuse continues to skyrocket.



1It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
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       6.      Plaintiff, Erin Mascarelli, alleges Defendant, The CBE Group, Inc., robocalled her

more than 150 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”),

the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”), Invasion of

Privacy (“IOP”), and Intentional Infliction of Emotional Distress (“IIED”).

       7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

Consumer Protection, Federal Trade Commission).

       8.      The TCPA was enacted to prevent companies like The CBE Group, Inc., from

invading American citizens’ privacy and prevent illegal robocalls.

       9.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

decided that "banning" such calls made without consent was "the only effective means of

protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

       10.     According to findings by the FCC—the agency Congress vested with authority to

issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

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wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.

                                JURISDICTION AND VENUE

       11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

       12.     Violations described in the Complaint occurred while Plaintiff was in Wesley

Chapel, Florida.

                                      FACTUAL ALLEGATIONS


       13.     Plaintiff is a natural person and citizen of the State of Florida, residing in Wesley

Chapel, Florida.

       14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §

1692(a)(3).

       15.     Plaintiff is an “alleged debtor.”

       16.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       17.     Defendant is a Foreign Profit Corporation with its principal place of business in

Cedar Falls, Iowa, and conducts business in the State of Florida.

       18.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).

       19.     The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

       20.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(732) 606-6572.

       21.     Plaintiff was the “called party” during each phone call subject to this lawsuit.
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         22.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

         23.     Defendant did not have the “express consent” of the Defendant to call her cell

phone.

         24.     “Express consent” is narrowly construed by the Courts.

         25.     It is the Defendant’s burden to prove they had “express consent” per the TCPA to

call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

         26.     It is the Defendant’s burden to prove they had “express consent” per the TCPA to

call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

         27.     Defendant was put on notice Plaintiff did not want the Defendant contacting her.

         28.     Defendant was told repeatedly to stop calling.2

         29.     Defendant did not have the express consent of the Plaintiff to call her on the

accounts they called her on.

         30.     Plaintiff expressly revoked any express consent Defendant may have mistakenly

believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

number by the use of an ATDS or a pre-recorded or artificial voice.

         31.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

         32.     Defendant made at least one call to (732) 606-6572.

         33.     Defendant made at least one call to (732) 606-6572 using an ATDS.

         34.     Defendant made at least ten (10) calls to (732) 606-6572.



2Defendant should have the call logs showing the exact number of calls and the recordings which should illustrate
exactly what was said to the Defendant.
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        35.     Defendant made at least ten (10) calls to (732) 606-6572 using an ATDS.

        36.     Defendant made at least one hundred (100) calls to (732) 606-6572.

        37.     Defendant made at least one hundred (100) calls to (732) 606-6572 using an ATDS.

        38.     Defendant made at least one hundred fifty (150) calls to (732) 606-6572.

        39.     Defendant made at least one hundred fifty (150) calls to (732) 606-6572 using an

ATDS.

        40.     Defendant made at least two hundred (200) calls to (732) 606-6572.

        41.     Defendant made at least three hundred (200) calls to (732) 606-6572 using an

ATDS.

        42.     Each call the Defendant made to (732) 606-6572 in the last four years was made

using an ATDS.

        43.     Each call the Defendant made to the Plaintiff’s cell phone was done so without the

“express permission” of the Plaintiff.

        44.     Defendant has called other people’s cell phones without their express consent.

        45.     Each call the Defendant made to the Plaintiff was made using an ATDS, which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).

        46.     The calls at issue were placed by the Defendant using a “prerecorded voice,” as

specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        47.     Plaintiff repeatedly requested the Defendant to stop calling her cell phone, however,

the Defendant continued to make calls.

        48.     Defendant has admitted to calling cell phones using an ATDS after that person

asked for the calls to stop.

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       49.     Plaintiff’s conversations with the Defendant putting them on notice that they did

not want more phone calls were ignored.

       50.     Defendant has recorded at least one conversation with the Plaintiff.

       51.     Defendant has recorded numerous conversations with the Plaintiff.

       52.     Defendant has made approximately one hundred fifty (150) calls to Plaintiff’s

aforementioned cellular telephone number since in or about October of 2018 which will be

established exactly once Defendant turns over their dialer records.

       53.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abusive robocalls.

       54.     Defendant has been sued in federal court where the allegations include: calling an

individual using an ATDS after the individual asked for the calls to stop.

       55.     By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

       56.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

intruding upon Plaintiff’s seclusion.

       57.     Defendant’s phone calls harmed Plaintiff by wasting her time.

       58.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider.




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         59.   Defendant’s corporate policy and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have mistakenly believed it had.

         60.   Defendant’s corporate policy and procedures provided no means for the Plaintiff to

have her aforementioned cellular number removed from the call list.

         61.   Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

voice message to collect debts from individuals such as Plaintiff for its financial benefit.

         62.   Plaintiff expressly revoked any consent Defendant may have mistakenly believed

it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

calls. Making money while breaking the law is considered an incentive to continue violating the

TCPA and other state and federal statutes.

         63.   Defendant never had the Plaintiff’s expressed consent for placement of telephone

calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

voice.

         64.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         65.   Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

         66.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                COUNT I
                                         (Violation of the TCPA)

         67.   Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

         68.   Defendant willfully violated the TCPA with respect to the Plaintiff each time they

called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-

recorded voice.
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       69.     Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

consent to be called by them using an ATDS or pre-recorded voice.

       70.     Defendant, The CBE Group, Inc., repeatedly placed non-emergency telephone calls

to the wireless telephone number of Plaintiff using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal law,

including 47 U.S.C § 227(b)(1)(A)(iii).

       71.     As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.

       72.     Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

The CBE Group, Inc., from violating the TCPA in the future.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FDCPA)

       73.     Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

       74.     At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

       75.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.




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          76.    Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy, abuse, or harass any person at the called number.

          77.    Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

using unfair and unconscionable means to collect or attempt to collect any debt.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.

                                             COUNT III
                                      (Violation of the FCCPA)

          78.    Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

          79.    At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

          80.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of her family with such frequency as can reasonably be expected

to harass the debtor or her family.

          81.    Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of her

family.

          82.    Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

when Defendant knows that the debt is not legitimate or assert the existence of some legal right

when Defendant knows that right does not exist.

          83.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.


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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.



                                              Respectfully submitted,



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